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 8   Attorneys for Defendant
 9
                        UNITED STATES DISTRICT COURT
10
                    CENTRAL DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                      Case Number: 2:13-cr-00106-DOC
13

14
                                Plaintiff,          DEFENDANT’S REQUEST FOR
15            v.                                    JUDICIAL NOTICE
16
                                                    Hon. David O. Carter
     MONGOL NATION, an unincorporated
17                                                  Courtroom: 10A
     association,
18

19                              Defendant.
20   TO THE ABOVE-ENTITLED COURT AND TO THE UNITED
21   STATES ATTORNEY:
22         PLEASE TAKE NOTICE that, pursuant to Rule of Evidence 201,
23   Defendant Mongol Nation hereby requests the Court take judicial notice of
24   the following documents. All exhibit references correspond to the exhibits
25   attached hereto.
26

27         Exhibit 1:    The indictment from United States v. Jose Landa-
28                       Rodriguez, et al., 18CR00173.


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 1         In addition, Defendant also requests that the Court specifically take
 2   notice of overt acts 200, 201, 202, 205 and 206 of Exhibit 1. Of specific
 3   interests is the content of 205 and 206, to wit:
 4

 5                       Overt Act No. 205: On April 9, 2014, defendant
 6                GABRIEL ZENDEJAS-CHAVEZ, via text-message, directed
 7                UICC-38 to send him $1,000 and UICC-39’s phone number per
 8                instructions of defendant LUIS GARCIA.
 9

10                       Overt Act No. 206: On April 23, 2014, via text-message,
11                UICC-38 sent defendant GABRIEL ZENDEJAS-CHAVEZ a
12                phone number for the national president of the Mongols outlaw
13                motorcycle gang.
14

15         We additionally, request that the Government be required to produce
16   all discovery related to the Mongols, David Santillan, John Ciccone,
17   Christopher Cervantes, and any other information relevant to this matter that
18   might be found in the US v. Jose Landa-Rodriguez, et al., files.

19
                                                    Respectfully submitted,
                                                    YANNY & SMITH
20

21   Dated: June 24, 2022                    By:    __/s/Joseph Yanny_____
                                                    Joseph A. Yanny, Esq.
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                                                    Andrea X. Ales, Esq.
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                                                    Attorneys for Defendant
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